   Case: 1:18-cv-06412 Document #: 69 Filed: 10/25/19 Page 1 of 1 PageID #:7442




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

GIANNI VERSACE, S.P.A.,
                                                      Case No. 18-cv-06412
                      Plaintiff,
                                                      Judge Edmond E. Chang
       v.
                                                      Magistrate Judge Maria Valdez
ZHAO DEQUN, et al.,

                      Defendants.


                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Gianni

Versace, S.p.A. hereby dismisses this action with prejudice as to the following Defendant:

               Defendant Name                                         Line No.
                Stone Fun Store                                         377


Dated this 25th day of October 2019.        Respectfully submitted,
                                            /s/ Justin R. Gaudio
                                            Paul G. Juettner
                                            Justin R. Gaudio
                                            Allyson M. Martin
                                            Greer, Burns & Crain, Ltd.
                                            300 South Wacker Drive, Suite 2500
                                            Chicago, Illinois 60606
                                            312.360.0080 / 312.360.9315 (facsimile)
                                            pjuettner@gbc.law
                                            jgaudio@gbc.law
                                            amartin@gbc.law

                                            Counsel for Plaintiff Gianni Versace S.P.A.
